             Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 1 of 12




                                         ®
       i     ..,.. ...         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                             •.
STAFF INSPECTOR DEBRA FRAZIER                                                                           -6        t   •
C/0 WEISBGERG LAW                                                   Civil Action No.
                Plaintiff,
                                                                                       -----
                                                                    Formerly
        V.
                                                                    Court of Common Pleas of
                                                                    Philadelphia
CITY OF PHILADELPHIA d/b/a THE
PHILADELPHIA POLICE DEPARTMENT
and

COMMISSIONER RICHARD ROSS JR.
Individually and in his official capacity as                        March Term 2018 No. 180301983
Commissioner for the PHILADELPHIA
POLICE DEPARTMENT

                           Defendants.

                                 NOTICE OF FILING OF REMOVAL

TO:     Matthew B. Weisberg, Esquire                Gary Schatkopf, Esquire
       7 South Morton A venue                       11 Bala Avenue
        Morton, PA 19070                                    Bala Cynwyd, Pennsylv

           Brian R. Mildenberg, Esquire
           1735 Market Street, Ste. 3750
           Philadelphia, PA 19103

           PLEASE TAKE NOTICE THAT on July 24, 2018, Defendants the City of Philadelphia d/b/a The

Philadelphia Police Department and Commissioner Richard Ross Jr., filed in the office of the Clerk of the

United States District Court for the Eastern District of Pennsylvania a verified Notice of Removal.

           A copy of this Notice of Removal is attached hereto and is also being filed with the Clerk of the

Court of Common Pleas of Philadelphia County, pursuant to Title 28, United States Code, Section

1446(e).                                                ~
                                                            Christopher Rider, Esq.
                                                            Divisional Deputy City Solicitor
                                                            Attorney I.D. No.307265
                                                            City of Philadelphia Law Department
                                                            1515 Arch Street, 16th Floor
                                                            Philadelphia, PA 19102
                                                            215-683-5082
            Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 2 of 12




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STAFF INSPECTOR DEBRA FRAZIER
C/0 WEISBERG LAW                                            Civil Action No.
                                                                               - - - -3 1 2       1
                      Plaintiff,
                                                            Formerly
       V.
                                                            Court of Common Pleas of
                                                            Philadelphia
CITY OF PHILADELPHIA d/b/a THE
PHILADELPHIA POLICE DEPARTMENT
and

COMMISSIONER RICHARD ROSS JR.
Individually and in his official capacity as                March Term 2018 No. 180301983
Commissioner for the PHILADELPHIA
POLICE DEPARTMENT

                      Defendants.

                                   CERTIFICATE OF SERVICE

       I, Christopher Rider, Divisional Deputy City Solicitor do hereby certify that a true and

correct copy of the attached Notice of Removal and attachments have been served upon the

following by First Class Mail, postpaid, on the date indicated below:


TO:    Matthew B. Weisberg, Esquire                         Gary Schafkopf, Esquire
       7 South Morton Avenue                                11 Bala Avenue
       Morton, PA 19070                                     Bala Cynwyd, Pennsylvania 19004

       Brian R. Mildenberg, Esquire
       1735 Market Street, Ste. 3750
       Philadelphia, PA 19103


Date: July 24, 2018
                                                    Divisional Deputy City Solicitor
                                                    Attorney I.D. No. 307265
                                                    City of Philadelphia Law Department
                                                    1515 Arch Street, 16th Floor
                                                    Philadelphia, PA 19102
                                                    215-683-5082

                                                                                              4
            Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 3 of 12




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STAFF INSPECTOR DEBRA FRAZIER
C/0 WEISBGERG LAW
                                                                                             · ... 21
                                                             Civil Action No.
                       Plaintiff,
                                                                                ----
                                                             Formerly
       v.
                                                             Court of Common Pleas of
                                                             Philadelphia
CITY OF PHILADELPHIA d/b/a THE
PHILADELPHIA POLICE DEPARTMENT
and

COMMISSIONER RICHARD ROSS JR.
Individually and in his official capacity as                 March Term 2018 No. 180301983
Commissioner for the PHILADELPIDA
POLICE DEPARTMENT
                       Defendants.


                                    NOTICE OF REMOVAL


To the Honorable Judges of the United States District Court for the Eastern District of
Pennsylvania:
       Pursuant to 28 U.S.C. § 1441 , defendants, the City of Philadelphia d/b/a the Philadelphia
Police Department and Commissioner Richard Ross Jr. (hereinafter "petitioners"), through its
counsel, Christopher Rider, Divisional Deputy City Solicitor, respectfully petitions for the
removal of this action to the United States District Court for the Eastern District of Pennsylvania.
In support thereof, defendant states the following :


    1. On July 7, 2018, plaintiff initiated this action by filing a Complaint in the Court of
       Common Pleas of Philadelphia, July Term 2018, No.180301983 .                See Exhibit A,
       Plaintiffs Complaint.


   2. On July 12, 2018, said Complaint was served on Petitioner at 1515 Arch Street,
       Philadelphia, Pennsylvania.


                                                  1
         Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 4 of 12




   3. Plaintiff avers that she was denied her promotion due to Defendant Ross' embarrassment
      of being involved in Plaintiffs previous sexual harassment claim. Plaintiff further alleges
      that Defendants retaliated against Plaintiff for opposing the aforesaid actions in the
      workplace. See Exhibit A, Plaintiffs Complaint.

   4. This action may be removed to this Court pursuant to 28 U.S.C. § 1441 because
       plaintiffs Complaint contains allegations of violations of the plaintiffs Federal Civil
       Rights and seeks relief under the Civil Rights Act 1991 (Title VII). See Exhibit A,
       Plaintiffs Complaint.

   5. There are no other identified defendants m this matter that require consent before
       removal.


       Wherefore, petitioners, City of Philadelphia d/b/a the Philadelphia Police Department
and Commissioner Richard Ross Jr., respectfully request that the captioned Complaint be
removed to the United States District Court for the Eastern District of Pennsylvania.




Date: July 24, 2018
                                                      hristopner Rider
                                                    Divisional Deputy City Solicitor
                                                    Attorney I.D. No. 307265
                                                    City of Philadelphia Law Department
                                                    1515 Arch Street, 16th Floor
                                                    Philadelphia, PA 19102
                                                     215-683-5082




                                                2
        Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 5 of 12




WEISBERG LAW
Matthew B. Weisberg, Attorney ID No. 85570
7 South Morton Ave. 19070
Morton, PA
610-690-0801
Fax: 610-690-0880
Attorney for Plaintiff                               Attorney for Plaintiff

MILDENBERG LAW FIRM
Brian R. Mildenberg, Attorney ID No. 84861
1735 Market Street, Ste. 3750
Philadelphia, PA 19103
Attorney for Plaintiff

 STAFF INSPECTOR DEBRA FRAZIER                       PHILADELPHIA COUNTY COURT
 C/0 WEISBGERG LAW                                   OF COMMON PLEAS

                        Plaintiff
                  V.                                 No. 180301983

 CITY OF PHILADELPIDA d/b/a THE
 PIDLADELPHIA POLICE                                 JURY OF TWELEVE (12) JURORS
 DEPARTMENT                                          DEMANDED
 and

 COMMISSIONER RICHARD ROSS JR.
 Individually and in his official capacity as
 Commissioner for the PHILADELPHIA
 POLICE DEPARTMENT

                       Defendants.
                                     NOTICE TO DEFEND

 NOTICE                                         AVISO
     You have been sued in court. If you        Le han demandado a usted en la corte. Si usted
 wish to defend against the claims set forth    quiere defenderse de estas demandas ex-puestas
 in the following pages, you must take          en las paginas siguientes, usted tiene veinte (20)
 action within twenty (20) days after this      dias de plazo al partir de la fecha de la demanda
 complaint and notice are served, by            y la notificacion . Hace falta asentar una
 entering a written appearance personally or    comparencia escrita o en persona o con un
 by attorney and filing in writing with the     abogado y entregar a la corte en forma escrita
 court your defenses or objections to the       sus defensas o sus objeciones a las demandas en
 claims set forth against you. You are          contra de su persona. Sea avisado que si usted
 warned that if you fail to do so the case      no se defiende, la carte tomara medidas y puede
 may proceed without you and a judgment         continuar la demanda en contra suya sin previo



                                                                                        Case lD: 180301983
      Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 6 of 12




may be entered against you by the court   aviso o notificacion. Ademas, la corte puede
without further notice for any money      decidir a favor del demandante y requiere que
claimed in the complaint or for any other usted cumpla con todas las provisiones de esta
                                          demanda. Usted puede perder dinero o sus
claim or relief requested by the plaintiff.
You may lose money or property or other   propiedades u otros derechos importantes para
rights important to you.                  usted.
YOU SHOULD TAKE THIS PAPER TO             USTED LE DEBE TOMAR ESTE PAPEL A
YOUR LA WYER AT ONCE. IF YOU              SU ABOGADO INMEDIA TAMENTE. SI
DO NOT HA VE A LA WYER, GO TO OR          USTED NO TIENE A UN ABOGADO, VA A
TELEPHONE THE OFFICE SET FORTH            O TELEFONEA LA OFICINA EXPUSO
BELOW. THIS OFFICE CAN PROVIDE            ABAJO. ESTA OFICINA LO PUEDE
YOU WITH INFORMATION ABOUT                PROPORCIONAR CON INFORMATION
HIRING A LA WYER.                         ACERCA DE EMPLEAR A UN ABOGADO.
 IF YOU CANNOT AFFORD TO HIRE A           SJ USTED NO PUEDE PROPORCIONAR
LA WYER, THIS OFFICE MAY BE               PARA EMPLEAR UN ABOGADO, ESTA
ABLE TO PROVIDE YOU WITH                  OFICINA PUEDE SER CAPAZ DE
INFORMATION ABOUT AGENCIES                PROPORCJONARLO CON INFORMACION
THAT MAY OFFER LEGAL SERVICES             ACERCA DE LAS AGENCIAS QUE PUEDEN
TO ELIGIBLE PERSONS AT A                  OFRECER LOS SERVICIOS LEGALES A
REDUCED FEE OR NO FEE.                    PERSONAS ELEGIBLES EN UN
                                          HO ORARIO REDUCIDO NJ NIN GUN
  Philadelphia Bar Association Lawyer     HO ORARJO.
  Referral and Information Service One        Asociacion De Licenciados De Filadelfia
Reading Center Philadelphia, Pennsylvania    Servicio De Referencia E Informacion Legal
                  19107                     One Reading Center Filadelfia, Pennsylvania
             (215) 238-6333                                     19107
          TTY (215) 451-6197                                (215) 238-6333
                                                         TTY (215) 451-6197




                                                                               Case ID : 18030 1983
     Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 7 of 12




3. Defendant, Richard Ross Jr., is employed as Commissioner of the Philadelphia Police

     Department. Defendant is being sued both individually and in his official capacity.

4.   Venue is proper in Philadelphia County Pennsylvania as the incident giving rise to the

     Complaint occurred in Philadelphia County Pennsylvania. Venue is appropriate in this

     Court pursuant to Pa. R.C.P. 1006.

5. Jurisdiction and venue are therefore proper in Philadelphia County Pennsylvania

                                     OPERATIVE FACTS


6. At all times relevant here to, Plaintiff has been Staff Inspector of the Narcotics Bureau.

7. At all times relevant here to Plaintiff had brought separate claim against the City of

     Philadelphia Police Department regarding sexual harassment.

8. All times relevant here to Defendant Richard Ross acted in place of then Commissioner

     Charles Ramsey as the Police Departments representative and was the subject of a

     deposition related to sexual harassment claim.

9. During the course of the deposition Defendant Ross falsely testified that Plaintiff had

     never worked in the district as a Police Captain in the 14th District.

10. Plaintiffs attorney exposed Defendant Ross's false testimony by proving Plaintiff was

     employed in the district as a Police Captain and that Ross had given her various detail

     assignments during her time as Captain.

11. Plaintiffs attorney embarrassed and undermined Ross's credibility during the course of

     the deposition.

12. Upon information and believe Defendant Ross would later use this embarrassing incident

     to preclude Plaintiff from being promoted to Chief Inspector of the Philadelphia Police




                                                                                     Case ID: 180301983
         Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 8 of 12




WEISBERG LAW                                           SCHAFKOPF LAW, LLC
Matthew B . Wei sberg, Attorney ID No. 85570           Gary Schafkopf, Attorney ID No. 83362
7 South Morton Ave. 19070                              11 Bala Ave
Morton, PA                                             Bala Cynwyd, PA 19004
610-690-080 I                                          610-664-5200 Ext I 04
Fax: 610-690-0880                                      Fax: 888-238- 1334
Attorney for Plaintiff                                 Attorney for Plaintiff

MILDENBERG LAW FIRM
Brian R. Mildenberg, Attorney ID No. 84861
1735 Market Street, Ste. 3750
Philadelphia, PA 19103
Attorney for Plaintiff

 STAFF INSPECTOR DEBRA FRAZIER                          PHILADELPHIA COUNTY COURT
 C/0 WEISBGERG LAW                                     OF COMMON PLEAS

                          Plaintiff
                    V.                                 No . 180301983

 CITY OF PHILADELPHIA d/b/a THE
 PHILADELPHIA POLICE                                    JURY OF TWELEVE (12) JURORS
 DEPARTMENT                                             DEMANDED
 and

 COMMISSIONER RICHARD ROSS JR.
 Individuall y and in his official capac ity as
 Commissioner for the PHILADELPHIA
 POLICE DEPARTMENT

                          Defendants .
                                  CIVIL ACTION COMPLAINT
                             PARTIES, JURISDICTION AND VENUE

    1.   Plaintiff, Debra Frazier, is an adult individual who is a Staff Inspecto r assigned to the

         Narcotics Bureau of th e Phila delphia Po lice Departme nt and resides in the

         Commonwealth of Pennsy lvani a. Plaintiff can be served in care of her attorneys at the

         above captioned add ress.

    2.   Defendant, City of Philadelphia doing business as The Philadelphia Police Department, is

         a municipality, duly o rganized and ex isti ng under the laws of the Commonwealth of

         Pe nnsylvania.




                                                                                            Case ID: 18030 l 983
        Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 9 of 12




   24. Following the expiration of the list in the Spring of 2016, Defendant Ross promoted two

       men to the rank of Chief Inspector.

   25. Plaintiff believes and avers she was denied her promotion due to Defendant Ross's

       embarrassment of being involved in Plaintiffs previous sexual harassment claim.


                                  COUNTI
                RETALIATION AND EMPLOYMENT DISCRIMINATION,
               AS AMENDED BY THE CIVIL RIGHTS ACT 1991 [Title VII]

   26. Plaintiff incorporates the foregoing paragraphs as if fully set forth at length herein.

   27. Defendants retaliated against Plaintiff for opposing the aforesaid actions in the

       workplace.

   28. Plaintiff suffered harm due to Defendants' conduct.

                                          PRAYER FOR RELIEF


       WHEREFORE, Plaintiff respectfully requests this Honorable Court enter judgment in her

favor and against Defendants, individually, jointly and/or severally, in an amount in excess of

$50,000.00 plus such other and further relief as this Honorable Court deems necessary and just,

and to Order the following relief:


                              a. Statutory damages;

                              b. Punitive damages;

                              c. Compensatory damages, including;

                                     1.    Actual damages for financial and physical injuries, and

                                           emotional distress;

                               d. Attorneys' fees and expenses, costs of suit, and equitable relief;

                               e. Promotion of Plaintiff to the rank of Chieflnspector.




                                                                                           Case ID: 180301983
 Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 10 of 12




13. At all times relevant here to Plaintiff become aware of the promotional exam in May of

   2014 for Chief Inspector of the Philadelphia Police Department.

14. Plaintiff took the required civil service promotional exam in May 2014.

15. The exam results were published with Plaintiff initially ranking Number 6 on the list for

   the Chief Inspector promotional list.

16. Following the publication of the list the four candidates ahead of Plaintiff were removed

   from contention for various reasons resulting in Plaintiff ranking Number 2 on the list.

17. At all times relevant here to, Commissioner Richard Ross had the ability promote from

   the published list for two years .

18. In or about late 2015 Defendant Ross advised Roosevelt Poplar, the Vice Present of the

   Fraternal Order of Police, that he intended to promote all ranks including Chieflnspector

   from the May 2014 list and that he intended to promote the top two ranked individuals on

   the Chief Inspector list.

19. Roosevelt Poplar then spoke with Plaintiff and advised her of Ross ' s intention to promote

   the top two candidates from Chief Inspector list.

20 . Plaintiff believed that given her status as Number 2 on the list she would be promoted

    and awaited the announcement.

21 . Prior to the making the pub! ic announcement Defendant Ross contacted Plaintiff and

    advised her he would not be promoting any Chief Inspectors.

22. Defendant Ross told Plaintiff "You will get over it."

23. A short time later, Defendant Ross announced the promotion of all ranks expect Chief

    Inspector.




                                                                                    Case ID: 1803 0 1983
      Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 11 of 12




                                        Respectfully Submitted,


BY: Isl Matthew Weisberg                BY: Isl GarySchafkopf
MATIHEW B. WEISBERG, ESQ                GARY SCHAFKOPF, ESQ
WEISBERG LAW                            SCHAFKOPF LAW, LLC
Attorney ID No. 85570                   Attorney ID No. 83362
7 South Morton Ave. 19070               11 Bala Ave
Morton, PA                              Bala Cynwyd, PA 19004
610-690-0801                            610-664-5200 Ext 104
Fax: 610-690-0880                       Fax: 888-238-1334
Attorney for Plaintiff                  Attorney for Plaintiff


DATED: 7-6-18                           DATED: 7-6-18

BY: Isl Brian R Mildenberg
BRIAN R. MILDENBERG, ESQ
MILDENBERG LAW FIRM
Attorney ID No. 84861
1735 Market Street, Ste. 3750
Philadelphia, PA 19103
215-545-4870
Fax: 215-545-4871
Attorney for Plaintiff


DATED: 7-6-18




                                                                  Case ID: 180301983
         Case 2:18-cv-03121-TJS Document 1 Filed 07/24/18 Page 12 of 12




                                           VERIFICATION


         I, Debra Frazier, state that I am the Plaintiff in this action and that the foregoing is true

and correct to the best of my knowledge, information and belief. I understand that the statements

made in the foregoing Complaint are made subject to the penalties of 18 Pa.C.S. 4904 related to

unswom falsification to authorities.




Dated:        7/6/2018- - -




                                                                                              Case ID: 180301983
